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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

WILLIAM C. BRANDT, *
*
Plaintiff * Civil Action No. 1:15-cv-1841
*
Vv. *
*
MOSAIC COMMUNITY *
SERVICES, INC.., et al., *
%*
Defendants *
/

 

ORDER GRANTING JOINT MOTION
FOR JUDICIAL APPROVAL OF SETTLEMENT

Upon consideration of the Joint Motion for Approval of Settlement Agreement
filed by the parties to this action, the Court hereby GRANTS the Motion and approves
the settlement between Plaintiff and Defendants (hereinafter, collectively referred to as
“the Parties”) based on the following findings:

l. The Parties have provided the Court with sufficient information for the
Court to conclude that the settlement agreement represents a fair and reasonable
resolution of a bona fide dispute under the FLSA according to the factors that have been
cited in other actions before the District Court. See Saman v. LBDP, Inc., 2013 1949047
at * 3 (D.Md. 2013).

2. The Court finds that the settlement was the product of arms’ length
negotiations between Counsel for the Parties, who are experienced in the field of FLSA

litigation.
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3: The attorney’s fees to be paid under the settlement agreement are
separately stated and Counsel have provided sufficient information to permit the Court to
conclude that the fees represent payments for amounts actually incurred at a reasonable
hourly rate. The amount for fees and costs bear a reasonable relationship to the amount
being paid to Plaintiff under the Agreement.

WHEREFORE, the Court hereby Orders that the Joint Motion be and is hereby
GRANTED, the Settlement is APPROVED, and this case is DISMISSED WITH

PREJUDICE.

at
Thé Honorable Jillyn K. Schulze

U.S. Magistrate Judge

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